              Case 2:18-cr-00184-MAK Document 60 Filed 10/27/21 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    UNITED STATES OF AMERICA                      : CRIMINAL ACTION
                                                  :
                         v.                       : NO. 18-184
                                                  :
    ROBERT BROWN                                  :


                                               ORDER
         AND NOW, this 27th day of October 2021, upon considering the pro se Petition (ECF Doc.

No. 56), the United States’ Response (ECF Doc. No. 58), and for reasons in the accompanying

Memorandum, it is ORDERED:

         1.       We DENY the Petition for habeas relief (ECF Doc. No. 56);

         2.       We find no need for an evidentiary hearing;

         3.       We DENY a certificate of appealability; 1 and,

         4.       The Clerk of Court shall close this case.



                                                        _______________________
                                                        KEARNEY, J.




1
    See 28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 484 (2000).
